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     Colin M. Downes (admitted pro hac vice)
 1
     BLOCK & LEVITON LLP
 2   1633 Connecticut Ave. NW, Suite 200
     Washington, DC 20009
 3
     Tel: (202) 734-7383
 4   Fax: (617) 507-6020
 5   Email: colin@blockleviton.com

 6 Attorney for Plaintiff and the Class
 7 Additional Counsel Listed Below
 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
                              EASTERN DIVISION
10
11   DANIELLE GAMINO,         )
     individually and on behalf of all
                              )
12   others similarly situated,
                              )
13                            )
           Plaintiff,         )                Case No.: 5:20-cv-01126-SB-SHK
14                            )                [Consolidated with Case No.: 5:21-cv-
15   v.                       )                01466-SB-SHK]
                              )
16   KPC HEALTHCARE HOLDINGS, )                PLAINTIFF’S REPLY
17   INC., et al.,            )                MEMORANDUM IN SUPPORT OF
                              )                MOTION TO COMPEL
18         Defendants,        )
19                            )                Hearing set for April 27, 2022 at
     and                      )                3:30 p.m.
20                            )
21   KPC HEALTHCARE, INC.     )                Hon. Shashi H. Kewalramani
     EMPLOYEE STOCK           )                By Videoconference
22   OWNERSHIP PLAN,          )
23                            )
           Nominal Defendant  )
24                            )
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 1                                   INTRODUCTION
 2         Plaintiff seeks an order compelling Defendants Dr. Chaudhuri and Thomas
 3 to produce financial records and information about the use of the proceeds that
 4 they received through the 2015 ESOP Transaction. Such financial discovery is
 5 relevant and permitted in actions seeking equitable restitution, disgorgement of
 6 profits, or imposition of a constructive trust, as Plaintiff does here. Defendants do
 7 not cite any case seeking such relief where a court denied such discovery. Instead,
 8 invoking unspecified compliance burdens, Defendants propose that even though
 9 neither discovery nor trial is bifurcated between liability and remedies, this
10 discovery should be postponed until after a trial on liability. That does not square
11 with a non-bifurcated proceeding. Under the existing case schedule, the ordinary
12 principles of equity, relevance, and proportionality require prompt compliance with
13 the discovery.
14                                     ARGUMENT
15 I.      This Discovery is Relevant to Plaintiff’s Claims
16         The requested discovery is relevant to both liability and remedies for
17 Plaintiff’s claims against Dr. Chaudhuri and Thomas under Counts I, II, and III.
18 ECF No. 253 (“Mot.”) at 9-11. Defendants acknowledge that to prove her claims
19 under ERISA § 502(a)(3), Plaintiff will need to identify a “specific fund to which
20 relief can attach.” ECF No. 260 (“Opp.”) at 7 (quoting ECF No. 209 at 4). They
21 assert she already has: “the proceeds of the 2015 ESOP Transaction in excess of
22 fair market value.” Id. But the District Court merely held that Plaintiff had
23 sufficiently alleged the existence of such a fund to overcome a Rule 12(b)(6)
24 motion. ECF No. 209 at 4. Ultimately, Plaintiff will likely need to prove the non-
25 dissipation and continued existence of assets equitably traceable to the proceeds of
26 the 2015 ESOP Transaction. See Mot. at 10-11 (citing Foster v. Adams and
27 Associates, Inc., 18-CV-02723-JSC, 2020 WL 3639648, at *8 (N.D. Cal. July 6,
28 2020) (holding on summary judgment that disgorgement and constructive trust

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 1 were unavailable as relief where “[p]laintiffs have failed to identify any funds or
 2 property within Defendants’ control that trace to the Plan’s assets”)).
 3         Defendants also assert that at trial Plaintiff need only show “appropriate
 4 equitable relief in some form or another is available.” Opp. at 7. That was
 5 sufficient to survive a motion to dismiss, ECF No. 76 at 8, but Plaintiff will likely
 6 need to show entitlement to specific remedies, not merely the availability of some
 7 remedy or other. CIGNA Corp. v. Amara, 563 U.S. 421, 443 (2011) (holding that
 8 showing required of ERISA plaintiff varied between equitable remedies of
 9 surcharge, estoppel, and reformation). Defendants also fail to address Ninth Circuit
10 law that the Court must award the remedy that “is most advantageous to the
11 participants and most conducive to effectuating the purposes of the trust.” Mot. at
12 11-12 (quoting Donovan v. Mazzola, 716 F.2d 1226, 1235 (9th Cir. 1983)).
13         Defendants attempt to distinguish some of Plaintiff’s cases where courts
14 granted financial discovery in actions seeking equitable relief because the claims
15 involved fraud or embezzlement (and they ignore the rest). Compare Mot. at 11-13
16 with Opp. at 8-9. But equitable remedies such as a “constructive trust” are “based
17 on property, not wrongs.” Harris Tr. & Sav. Bank v. Salomon Smith Barney, Inc.,
18 530 U.S. 238, 251 (2000) (quoting 1 D. Dobbs, Law of Remedies § 4.3(2) at 597
19 (2d ed. 1993)). Defendants do not explain why the discovery relevant to establish
20 the scope of a constructive trust would differ in fraud or embezzlement cases.
21         None of Defendants’ cases denying financial discovery sought equitable
22 relief: all were legal actions for money damages. Opp. at 5-6; see Liberty Ins.
23 Corp. v. Sw. Traders Incorp., No. ED CV-12-02151-JLQ, 2013 WL 12140335, at
24 *2 (C.D. Cal. Aug. 27, 2013) (action seeking unpaid insurance premiums);
25 Sierrapine v. Refiner Prod. Mfg., Inc., 275 F.R.D. 604, 605 (E.D. Cal. 2011)
26 (breach of contract action); Brady v. Conseco, Inc., No. C 08-05746-SI, 2009 WL
27 5218046, at *2 (N.D. Cal. Dec. 29, 2009) (describing purported purpose of denied
28 financial discovery as quantifying “damages”); Lincoln Elec. Co. v. MPM Techs.,

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 1 Inc., No. 1:08-CV-2853, 2009 WL 2413625, at *1 (N.D. Ohio Aug. 5, 2009)
 2 (breach of contract action). One of Defendants’ cases compelled the production of
 3 financial information because it was relevant to the issue of punitive damages.
 4 Baker v. CNA Ins. Co., 123 F.R.D. 322, 330 (D. Mont. 1988).
 5         Defendants note that Plaintiff need not prove the existence of a traceable res
 6 to show entitlement to surcharge for loss against a fiduciary under ERISA §
 7 502(a)(2). Opp. at 7-8. But ERISA § 502(a)(2) is more expansive than 502(a)(3)
 8 because in addition to recovery of “any losses to the plan,” it allows “equitable or
 9 remedial relief,” and also the recovery of profits made through use of assets of a
10 plan. 29 U.S.C. §§ 1132(a)(2), 1109(a). As such, Plaintiff can obtain a constructive
11 trust and disgorgement of profits under ERISA § 502(a)(2) against Dr. Chauduri
12 and Thomas if they are found to be fiduciaries, but only under ERISA § 502(a)(3)
13 if they are not fiduciaries. Regardless of the section under which they are enforced,
14 these remedies require examining what use Dr. Chaudhuri and Thomas have made
15 of the assets they received.1 The discovery is thus still relevant to Plaintiff’s
16 entitlement to relief under section 502(a)(2).
17 II.     The Discovery Sought is Proportional to the Needs of this Case.
18         This discovery is limited to the assets Defendants received through the 2015
19 ESOP Transaction and their proceeds, including the subsequent use and
20 commingling of those funds. Mot. at 15-16. Defendants do not adequately show
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       Defendants complain that Plaintiff’s authorities for the proposition that she is
     entitled to profits earned by Defendants on their ill-gotten gains are “treatises.”
23   Opp. at 14. But the Supreme Court has directed courts evaluating the scope of
24   relief available under ERISA to the “standard treatises on equity, which establish
     the ‘basic contours’ of what equitable relief was typically available in premerger
25   equity courts.” Montanile v. Bd. of Trs. of Nat’l Elevator Indus. Health Benefit
26   Plan, 577 U.S. 136, 142 (2016); Great-W. Life & Annuity Ins. Co. v. Knudson, 534
     U.S. 204, 217 (2002). Nor is such disgorgement necessarily limited to profits on
27   the “overpayment,” Opp. at 14. The remedy of recission would involve the
28   complete unwinding of the 2015 ESOP Transaction, ECF No. 76 at 9, not just
     return of an overpayment.

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 1 that this discovery would impose an undue burden. Opp. at 12-15. “[T]he Court
 2 only entertains an unduly burdensome objection when the responding party
 3 demonstrates how the document is ‘overly broad, burdensome, or oppressive’ by
 4 submitting affidavits or offering evidence that reveals the nature of the burden.”
 5 Dish Network, LLC. v. Jadoo TV, Inc., No. CV 18-9768-FMO (KSX), 2020 WL
 6 2070990, at *3 (C.D. Cal. Feb. 28, 2020) (quoting Tequila Centinela, S.A. de C.V.
 7 v. Bacardi & Co. Ltd., 242 F.R.D. 1, 10 (D.D.C. 2007)) (granting motion to
 8 compel and overruling “conclusory assertion of burden”). Defendants have
 9 submitted no affidavits nor even a concrete explanation of the compliance burden;
10 instead they only conclusorily assert that they “would likely have to produce every
11 bank statement, financial document, and receipt in their possession” to comply.
12 Opp. at 13. That unsubstantiated assertion is at odds with the express limitation of
13 the discovery to the things of value Defendants received through the 2015 ESOP
14 Transaction and their proceeds. See ECF No. 252-2 at 6-8; ECF No. 252-3 at 6-9.
15         Defendants also argue that the factors for analyzing proportionality set forth
16 by Rule 26(b)(1) should be ignored. Opp. at 15. This merely demonstrates that the
17 factors – including the multimillion-dollar amount in controversy, the importance
18 of this discovery as well as the disparity in resources between Plaintiff and
19 Defendants – undermine any argument that the discovery will place an undue
20 burden upon on Defendants. Mot. 15-16.
21 III.    This Discovery is Not Premature.
22         The parties agree that the discovery is relevant to the issue of remedies –
23 Defendants just believe such an inquiry should take place only following a trial on
24 liability. Opp. at 10-11. Defendants identify two cases in which other plaintiffs
25 represented by some of Plaintiff’s counsel agreed to such a bifurcated structure. Id.
26 But the District Court has “broad discretion” with respect to bifurcation. Hangarter
27 v. Provident Life & Acc. Ins. Co., 373 F.3d 998, 1021 (9th Cir. 2004); see Fahmy v.
28 Jay-Z, No. 207CV05715CASPJWX, 2014 WL 12558782, at *6 (C.D. Cal. July 21,

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 1 2014) (declining to bifurcate liability and remedies in disgorgement action). The
 2 Court has not bifurcated trial or discovery here. Mot. at 16-17. Despite being on
 3 notice of this issue at least since November of 2020,2 these Defendants have not
 4 sought bifurcation of remedies or to meet and confer regarding bifurcation. Absent
 5 bifurcation, this is not a reason to deny the discovery. Mot at 16-17 (citing Nadler
 6 v. Nature's Way Prod., LLC, No. EDCV 13-100-TJH KKX, 2014 WL 5761122, at
 7 *3 (C.D. Cal. Nov. 5, 2014)). That Plaintiff’s counsel in other cases, on behalf of
 8 other clients has agreed to bifurcate liability and remedies subject to Court
 9 approval is irrelevant. Opp. at 10-12. In other cases, Plaintiff’s counsel has not
10 agreed to bifurcate such discovery: for example, in a currently pending ESOP case,
11 Plaintiff sought and the court ordered defendants to produce tracing discovery
12 including multiple years of tax returns and responses to interrogatories demanding
13 the identities of asset custodians and financial advisors. Downes Decl. ¶ 2 & Ex. 1
14 at 1.
15                                     CONCLUSION
16         Disocvery seeking to identify the res for a constructive trust or equitable
17 restitution is relevant and permitted. Disocvery to quantify the amount of profits to
18 be disgorged is also relevant and permitted. As those are the precise purposes for
19 which Plaintiff seeks this discovery, Defendants Dr. Chaudhuri and Thomas should
20 be compelled to produce the information relevant to her claims and those remedies.
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       Defendants assert that they did not timely raise the issue of bifurcation at the
25   outset of the case because Plaintiff did not raise the issue of seeking Defendants’
26   financial information. Opp. at 12 n. 3. Yet Plaintiff’s Rule 26(a) disclosures served
     on November 10, 2020, advised that Plaintiff intended to seek discovery to
27   “ascertain the amount of money received by Dr. Chaudhuri in the transaction [that]
28   is subject to a constructive trust or the amount subject to disgorgement.” Downes
     Decl. Ex. 2 at 11.

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 1 DATED:        April 26, 2022           Respectfully submitted,
 2
 3
 4
                                          R. Joseph Barton (SBN 212340)
 5                                        Colin M. Downes (admitted pro hac vice)
 6                                        BLOCK & LEVITON LLP
                                          1735 20th Street NW
 7                                        Washington, DC 20009
 8                                        Tel: (202) 734-7046
                                          Fax: (617) 507-6020
 9                                        Email: joe@blockleviton.com
10                                        Email: colin@blockleviton.com

11                                        Daniel Feinberg (SBN 135983)
12                                        Nina Wasow (SBN 242047)
                                          Darin Ranahan (SBN 273532)
13                                        FEINBERG JACKSON WORTHMAN &
14                                        WASOW LLP
                                          2030 Addison Street, Suite 500
15                                        Berkeley, CA 94704
16                                        Tel: (510) 269-7998
                                          Fax: (510) 269-7994
17                                        Email: dan@feinbergjackson.com
18                                        Email: nina@feinbergjackson.com
                                          Email: darin@feinbergjackson.com
19
20                                        Richard E. Donahoo (SBN 186957)
                                          Sarah L. Kokonas (SBN 262875)
21                                        William E. Donahoo (SBN 322020)
22                                        DONAHOO & ASSOCIATES, PC.
                                          440 W. First Street, Suite 101.
23                                        Tustin, CA 92780Tel: (714) 953-1010
24                                        Email: rdonahoo@donahoo.com
                                          Email: skokonas@donahoo.com
25                                        Email: wdonahoo@donahoo.com
26
27
28
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 Case 5:20-cv-01126-SB-SHK Document 263 Filed 04/26/22 Page 8 of 9 Page ID #:5111




                                          Major Khan (admitted pro hac vice)
 1
                                          MKLLC LAW
 2                                        1120 Avenue of the Americas, 4th Fl.
                                          New York, NY 10036
 3
                                          Tel: (646) 546-5664
 4                                        Email: mk@mk-llc.com
 5
                                          Attorneys for Plaintiff and the Class
 6
 7
 8
 9
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 1                              CERTIFICATE OF SERVICE
 2         I, Colin M. Downes, hereby certify that on April 26, 2022, a copy of the
 3 PLAINTIFF’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO
 4 COMPEL was served on the counsel of record listed below via the CM/ECF
 5 system.
 6               Dated this 26th day of April, 2022.
 7
     Maria Rodriguez                           Lars C. Golumbic
 8   Christopher A. Braham                     Sarah M. Adams
     Julian L. Andre                           Rachael E. Hancock
 9   Laurie Ann Baddon                         Shaun A. Gates
     McDermott Will & Emery LLP                William J. Delany
10   2049 Century Park East, Suite 3200        Groom Law Group, Chartered
     Los Angeles, CA 90067                     1701 Pennsylvania Ave. NW
11   mcrodriguez@mwe.com                       Washington, DC 20006
     cbraham@mwe.com                           lgolumbic@groom.com
12   jandre@mwe.com                            sadams@groom.com
     lbaddon@mwe.com                           rhancock@groom.com
13                                             sgates@groom.com
     Theodore M. Becker                        wdelany@groom.com
14   McDermott Will & Emery LLP
     444 West Lake Street, Suite 4000          Andrew J. Waxler
15   Chicago, IL 60606                         Samuel S. Rose
     tbecker@mwe.com                           Kaufman Dolowich & Voluck LLP
16                                             11755 Wilshire Blvd., Suite 2400
     Aimee Mackay                              Los Angeles, CA 90025
17   Morgan, Lewis & Bockius LLP               awaxler@kdvlaw.com
     300 South Grand Ave., 22nd Floor          srose@kdvlaw.com
18   Los Angeles, CA 90071
     aimee.mackay@morganlewis.com
19
     Sari Alamuddin
20   Morgan Lewis and Bockius LLP
     110 North Wacker Drive, Suite 2800
21   Chicago, IL 60606
     sari.alamuddin@morganlewis.com
22
23
                                                              Colin M. Downes
24
25
26
27
28
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